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                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                         No: 15-3406

      Eddie B. Robinson, as administrator for the Estate of Willie Robinson, Sr., deceased

                                                    Appellant

                                               v.

                                    EOR-ARK, LLC, et al.

                                                    Appellees

______________________________________________________________________________

      Appeal from U.S. District Court for the Western District of Arkansas - El Dorado
                                  (1:14-cv-01051-SOH)
______________________________________________________________________________

                                         MANDATE

       In accordance with the opinion and judgment of 11/14/2016, and pursuant to the

provisions of Federal Rule of Appellate Procedure 41(a), the formal mandate is hereby issued in

the above-styled matter.

                                                     December 28, 2016




Clerk, U.S. Court of Appeals, Eighth Circuit




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